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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                    Filed: October 25, 2021

* * * * * * * * * * * * *  *                               UNPUBLISHED
PATRICIA STOLBERG as       *
Personal Representative of the
                           *
Estate of Peter Stolberg, Decedent,
                           *
                           *
         Petitioner,       *                               No. 17-1815V
                           *                               Special Master Oler
v.                         *
                           *                               Attorneys’ Fees and Costs
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *
Diana L. Stadelnikas, Maglio Christopher and Toale, PA, Sarasota, FL, for Petitioner.
Voris E. Johnson, United States Department of Justice, Washington, DC, for Respondent.

                        DECISION ON ATTORNEYS’ FEES AND COSTS1

        On November 20, 2017, Patricia Stolberg (“Petitioner”), as personal representative of the
estate of Peter Stolberg (“Mr. Stolberg”), filed a petition for compensation pursuant to the National
Vaccine Injury Compensation Program2 alleging that Mr. Stolberg suffered from transverse
myelitis which ultimately caused his death as a result of the influenza vaccination he received on
October 5, 2016. Pet. at 1. On July 13, 2021, the parties filed a stipulation, which the undersigned
adopted as her decision awarding compensation on July 14, 2021. (ECF No. 61)

      On August 10, 2021, Petitioner filed an application for final attorneys’ fees and costs. (ECF
No. 65). (“Fees App.”). Petitioner requests total attorneys’ fees and costs in the amount of

1
  The undersigned intends to post this Ruling on the United States Court of Federal Claims' website. This
means the Ruling will be available to anyone with access to the Internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this case,
the undersigned is required to post it on the United States Court of Federal Claims' website in accordance
with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion
of Electronic Government Services).
2
    National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
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$123,690.94, representing $108,733.60 in attorneys’ fees and $14,957.34 in attorneys’ costs. Fees
App. at 2. Pursuant to General Order No. 9, Petitioner states that she has personally incurred costs
totaling $3,774.87 related to this litigation. Id. Respondent responded to the motion on August 17,
2021, stating that “Respondent is satisfied the statutory requirements for an award of attorneys’
fees and costs are met in this case” and requesting that the undersigned “exercise her discretion
and determine a reasonable award for attorneys’ fees and costs.” Resp’t’s Resp. at 2. (ECF No.
66). Petitioner filed her reply on August 19, 2021, reiterating her belief that the requested amount
of fees and costs is reasonable. (ECF No. 67).

       This matter is now ripe for consideration.

I.     Reasonable Attorneys’ Fees and Costs

         Section 15(e) (1) of the Vaccine Act allows for the Special Master to award “reasonable
attorneys' fees, and other costs.” § 300aa–15(e)(1)(A)–(B). Petitioners are entitled to an award of
reasonable attorneys' fees and costs if they are entitled to compensation under the Vaccine Act, or,
even if they are unsuccessful, they are eligible so long as the Special Master finds that the petition
was filed in good faith and with a reasonable basis. Avera v. Sec'y of Health & Human Servs., 515
F.3d 1343, 1352 (Fed. Cir. 2008). Here, because Petitioner was awarded compensation pursuant
to a stipulation, she is entitled to a final award of reasonable attorneys’ fees and costs.

        It is “well within the special master's discretion” to determine the reasonableness of fees.
Saxton v. Sec'y of Health & Human Servs., 3 F.3d 1517, 1521–22 (Fed. Cir. 1993); see also Hines
v. Sec'y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). (“[T]he reviewing court must grant
the special master wide latitude in determining the reasonableness of both attorneys' fees and
costs.”). Applications for attorneys' fees must include contemporaneous and specific billing
records that indicate the work performed and the number of hours spent on said work. See Savin
v. Sec'y of Health & Human Servs., 85 Fed. Cl. 313, 316–18 (2008).

        Reasonable hourly rates are determined by looking at the “prevailing market rate” in the
relevant community. See Blum v. Stenson, 465 U.S. 886, 895 (1984). The “prevailing market rate”
is akin to the rate “in the community for similar services by lawyers of reasonably comparable
skill, experience and reputation.” Id. at 895, n.11. The petitioner bears the burden of providing
adequate evidence to prove that the requested hourly rate is reasonable. Id.

       a. Reasonable Hourly Rates

        The undersigned has reviewed the hourly rates requested by petitioner for the work of her
counsel at Maglio Christopher & Toale (the billing entries indicate that the majority of attorney
work was performed by Ms. Diana Stadelnikas, with supporting work from Ms. Anne Toale, Mr.
Altom Maglio, Ms. Danielle Strait, Mr. FJ Caldwell, Ms. LeeAnne Pedrick and Ms. Alison
Haskins). The requested rates are consistent with what these attorneys have previously been
awarded for their Vaccine Program work, and the undersigned finds them to be reasonable herein
for the work performed in the instant case. The only exception is that it appears Mr. Caldwell billed
2.5 hours at $404.00 per hour in 2019 rather than at his established rate of $400.00 per hour (he
also billed 16.6 hours at the correct rate). Application of this rate results in a reduction of $10.00.


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       b. Reasonable Hours Expended

         Attorneys' fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton, 3 F.3d at 1521 (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)). Additionally, it is well-established that billing for
administrative/clerical tasks is not permitted in the Vaccine Program. Rochester v. United States,
18 Cl. Ct. 379, 387 (1989); Arranga v. Sec’y of Health & Human Servs., No. 02-1616V, 2018 WL
2224959, at *3 (Fed. Cl. Spec. Mstr. Apr. 12, 2018).

         The overall hours spent on this matter appear to be reasonable. The undersigned has
reviewed the billing entries and finds that they adequately describe the work done on the case and
the amount of time spent on that work. None of the entries appear objectionable, nor has
Respondent identified any entries as objectionable. Accordingly, Petitioner is awarded final
attorneys’ fees in the amount of $108,723.60.

       c. Attorneys’ Costs

        Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests
a total of $14,957.34 in attorneys’ costs. Fees App. Ex. 2. This amount is comprised of acquiring
medical records, postage, the Court’s filing fee, and work performed by Petitioner’s medical
expert, Dr. Carlo Tornatore. All of these costs are typical of Vaccine Program litigation and are
reasonable in the undersigned’s experience. Petitioner has provided adequate documentation
supporting the request. The full amount of costs is therefore awarded.

       d. Petitioner’s Costs

        Pursuant to General Order No. 9, Petitioner has indicated she has personally incurred costs
of $3,774.87 to hire a local attorney to perform the necessary estate work. Fees App. Ex. 3.
Petitioner has provided adequate documentation supporting these costs and they are reasonable in
the undersigned’s experience.

II.    Conclusion

        In accordance with the Vaccine Act, 42 U.S.C. § 300aa-15(e) (2012), the undersigned has
reviewed the billing records and costs in this case and finds that Petitioner’s request for fees and
costs, other than the reductions delineated above, is reasonable. The undersigned finds that it is
reasonable to compensate Petitioner and her counsel as follows:

 Attorneys’ Fees Requested                                           $108,733.60
 (Reduction to Fees)                                                  - ($10.00)
 Total Attorneys’ Fees Awarded                                       $108,723.60

 Attorneys’ Costs Requested                                          $14,957.34

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    (Reduction to Costs)                                                       -
    Total Attorneys’ Costs Awarded                                        $14,957.34

    Total Attorneys’ Fees and Costs                                      $123,680.94

    Petitioner’s Costs                                                    $3,774.87

    Total Amount Awarded                                                 $127,455.81

          Accordingly, the undersigned awards the following:

      1) a lump sum in the amount of $123,680.94, representing reimbursement for reasonable
         attorneys’ fees and costs, in the form of a check payable jointly to Petitioner and
         Petitioner’s counsel of record, Ms. Diana Stadelnikas; and

      2) a lump sum in the amount of $3,774.87, representing reimbursement for Petitioner’s
         costs, in the form of a check payable to Petitioner.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court shall enter judgment in accordance herewith.3

          IT IS SO ORDERED.

                                                 s/ Katherine E. Oler
                                                 Katherine E. Oler
                                                 Special Master




3
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review.
Vaccine Rule 11(a).

                                                    4
